Case 2:22-cv-14102-DMM Document 315 Entered on FLSD Docket 02/17/2023 Page 1 of 1

Generated: Feb 17, 2023 11:07AM                                                                                                      Page 1/1




                                                     U.S. District Court

                                                    Florida Southern - Miami
                                                                                                           Receipt Date: Feb 17, 2023 11:07 AM
BINNALL LAW GROUP PLLC
717 KING STREET
SUITE 200
ALEXANDRIA, VA 22314



 Rcpt. No: 26514 7                                    Trans. Date: Feb 17, 2023 11 :07AM                                     Cashier ID : #VT

 CD       Purpose                       Case/Party/Defendant                       Qty                          Price                    Amt

                                        DFLS222CV014102/001
 701      Treasury Reg istry                                                        1                      1031788.33            1031788.33
                                        DONALD J. TRUMP




 CD       Tender                                                                                                                         Amt

 CH       Check                        #539567                        02/16/2023                                              $1,031 ,788.33

                                                                          Total Due Prior to Payment:                          $1 ,031,788 .33

                                                                                         Total Tendered:                      $1 ,031,788.33

                                                                                 Total Cash Received:                                   $0.00

                                                                                Cash Change Amount:                                     $0.00

 Comments: 22-cv-14102 -DMM/Donald J. Trump vs. Hillary R. Clinton, et al. REMITTER: BINNAL LAW GROUP PLLC 717 KING STREET, SUITE
 200 ALEXANDRIA, VA 22314 PER ORDER OF THE COURT (DE#309)



 Checks and drafts are accepted subject to collection and full credit will only be given when the check or draft has been accepted by the
 financ ial institution on which it was drawn.
